                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION

   BRENNAN M. GILMORE,
                    Plaintiff,
           v.                                     Case No. 3:18-cv-00017-NKM
   ALEXANDER E. JONES, et al.,
                    Defendants.

                Free Speech Defendants’ Motion for Reconsideration or Certification
                For Interlocutory Appeal of the Court’s March 29 Order and Opinion
         Pursuant to Federal Rule of Civil Procedure 54(b), Defendants Alex Jones, Lee Ann

  McAdoo, InfoWars, LLC, and Free Speech Systems, LLC (collectively, the “Free Speech

  Defendants”) respectfully move the Court for reconsideration of its March 29, 2019 Order

  denying their motion to dismiss for want of personal jurisdiction over the Free Speech

  Defendants. In the alternative, the Free Speech Defendants move for interlocutory certification

  under 28 U.S.C. § 1292(b) because the personal jurisdiction question raised here satisfies the

  standard for interlocutory certification.

         As shown in the accompanying memorandum, the Court’s March 29 Order conflicts with

  governing authority because the legal standard it applied permits jurisdiction over non-forum-

  state defendants who have merely discussed forum-state events, without manifesting an intent to
  target an audience in the forum state. In this respect, the Court’s Order conflicts with Supreme

  Court and Fourth Circuit precedent that limits jurisdiction in these circumstances to defendants

  who have “expressly aimed” allegedly wrongful acts at the forum state.

         In the alternative, the Free Speech Defendants move the Court to certify under 28 U.S.C.

  § 1292(b) for immediate interlocutory appeal the issue of whether an Internet publication’s focus

  on forum-state events and persons, standing alone, suffices to support specific personal

  jurisdiction over out-of-state defendants who have not otherwise aimed their conduct at the
  forum state. That is a controlling question of law, it is a question over which reasonable jurists




Case 3:18-cv-00017-NKM-JCH Document 133 Filed 05/02/19 Page 1 of 3 Pageid#: 1888
  could disagree and have disagreed, and its resolution would materially advance conclusion of

  this litigation.

          For these reasons, the Court should reconsider its March 29, 2019 Order denying the Free

  Speech Defendants’ motion to dismiss for want of personal jurisdiction or, in the alternative,

  amend that order to certify it for interlocutory appeal pursuant to 28 U.S.C. § 1292(b).

   May 2, 2019                                      Respectfully submitted,


   TREMBLAY & SMITH, PLLC                           BAKER HOSTETLER LLP

   Thomas E. Albro (VSB #12812)               /s/ Elizabeth A. Scully
   Evan D. Mayo (VSB #89383)                  Elizabeth A. Scully (VSB #65920)
   105-109 E. High Street                     Mark I. Bailen
   Charlottesville, VA 22902                  Andrew M. Grossman
   Telephone: (434) 977-4455                  Richard B. Raile (VSB #84340)
   Facsimile: (434) 979-1221                  Washington Square, Suite 1100
   tom.albro@tremblaysmith.com                1050 Connecticut Avenue, N.W.
   evan.mayo@tremblaysmith.com                Washington, DC 20036-5304
                                              Telephone: (202) 861-1500
   Co-Counsel for Defendants Alexander E. Facsimile: (202) 861-1783
   Jones, Infowars, LLC, Free Speech Systems, escully@bakerlaw.com
   LLC and Lee Ann McAdoo a/k/a Lee Ann mbailen@bakerlaw.com
   Fleissner                                  agrossman@bakerlaw.com
                                              rraile@bakerlaw.com

                                                    Counsel for Defendants Alexander E. Jones,
                                                    Infowars, LLC, Free Speech Systems, LLC
                                                    and Lee Ann McAdoo a/k/a Lee Ann Fleissner

                                                    WALLER LANSDEN DORTCH & DAVIS,
                                                    LLP
                                                    Eric J. Taube
                                                    100 Congress Avenue, Suite 1800
                                                    Austin, TX 78701
                                                    Telephone: (512) 685-6401
                                                    eric.taube@wallerlaw.com

                                                    Of Counsel for Defendants Alexander E.
                                                    Jones, Infowars, LLC, Free Speech Systems,
                                                    LLC and Lee Ann McAdoo a/k/a Lee Ann
                                                    Fleissner



                                      2
Case 3:18-cv-00017-NKM-JCH Document 133 Filed 05/02/19 Page 2 of 3 Pageid#: 1889
                                     CERTIFICATE OF SERVICE
            I hereby certify that on May 2, 2019, I electronically filed the foregoing with the Clerk of

  Court using the CM/ECF system, which will send notification of such filing to all counsel of

  record.

                                                          /s/ Elizabeth A. Scully
                                                          Elizabeth A. Scully (VSB #65920)
                                                          Washington Square, Suite 1100
                                                          1050 Connecticut Avenue, N.W.
                                                          Washington, DC 20036-5304
                                                          Telephone: (202) 861-1500
                                                          Facsimile: (202) 861-1783
                                                          escully@bakerlaw.com




Case 3:18-cv-00017-NKM-JCH Document 133 Filed 05/02/19 Page 3 of 3 Pageid#: 1890
